
Steven Rosenzweig, D.C., as Assignee of Robert Menjivar, Respondent, 
againstMercury Casualty Company, Appellant.



Appeal from an order of the Civil Court of the City of New York, Queens County (Carmen R. Velasquez, J.), entered September 25, 2013. The order, insofar as appealed from, denied defendant's motion for summary judgment dismissing the complaint or, in the alternative, for an order compelling plaintiff to appear for an examination before trial.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and the branch of defendant's motion seeking summary judgment dismissing the complaint is granted.For the reasons stated in Steven Rosenzweig, D.C., as Assignee of Roberto Menjivar v Mercury Cas. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1289 Q C], decided herewith), the order, insofar as appealed from, is reversed and the branch of defendant's motion seeking summary judgment dismissing the complaint is granted.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 15, 2016










